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                           UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16
     Universal City Studios LLC; Columbia)      Case No. 2:17-cv-07496-MWF(AS)
17
     Pictures Industries, Inc.; Disney   )
                                         )
18   Enterprises, Inc.; Twentieth Century Fox
                                         )      RESPONSE IN OPPOSITION TO
     Film Corporation; Paramount Pictures)      MOTION FOR PRELIMINARY
19                                       )
     Corporation; Warner Bros. Entertainment,   INJUNCTION
                                         )
20   Inc.; Amazon Content Services, LLC; )
     Netflix Studios, LLC,               )      [Filed Concurrently with Declaration
21                                       )      of Prof. Amy Bruckman & Declaration
                                         )
22                        Plaintiffs,    )      of Jeffrey Goldstein]
           vs.                           )
23                                       )
                                         )      Date: Jan. 29, 2017
24   TickBox TV, LLC,                    )      Time: 10:00 a.m.
                                         )      Ctrm: 5A [Hon. Michael W.
25
                          Defendant.     )
                                         )            Fitzgerald]
26    __________________________________ )
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.   INTRODUCTION.
 3         Defendant TickBox TV, LLC (“TickBox” or “Defendant”) sells a hardware
 4   device (the “Box”) which allows users to perform common functions of a
 5   smartphone, tablet, or desktop computer, and display those functions on the user’s
 6   television screen or other monitor. See Declaration of Professor Amy S. Bruckman
 7   (“Bruckman Decl.”) ¶¶ 6-8, 13. It allows users to search the Internet, access popular
 8   social media websites such as Twitter, and download and use applications for the
 9   Android operating system. Id. Users can download applications and access media
10   content from legitimate, non-infringing content sources. Id. ¶ 15. The Box is not
11   sold with any unauthorized or illegal content, nor is unauthorized or illegal software
12   installed. Id. ¶¶ 8, 14. Nevertheless, Plaintiffs allege that Defendant is violating
13   their rights because, just as with any other device connected to the Internet, users of
14   the Box can download and install third-party programs – not affiliated in any way
15   with Defendant – through which users could search for and view unauthorized or
16   illegal content from third-party sources.
17        Plaintiffs filed the Motion for Preliminary Injunction [Doc. No. 28] (hereafter,
18   the “Motion”) seeking a vague and overbroad preliminary injunction against
19   Defendant and its officers, directors, agents, servants, and employees from violating
20   copyright law or “distributing any device or software . . . or performing any service
21   that induces or facilitates” violation of copyright law. Plaintiffs also seek
22   mandatory relief to require Defendant to cease doing business, impound its
23   inventory, and hack into already sold devices to remove any software downloaded
24   by purchasers which might “facilitate” infringement of Plaintiffs’ copyrighted
25   works.
26        The Motion must be denied because Plaintiffs have failed to establish a
27   likelihood of success on the merits of their claim. As explained in detail herein, the
28   alleged “infringing conduct” on which this action is based is purportedly committed
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 1   by third parties that have no affiliation with Defendant and over which Defendant
 2   has no control. On the other hand, the actions of Defendant and its users can in no
 3   way be construed as a copyright violation. Thus, Plaintiffs cannot show that
 4   injunctive relief is necessary to prevent irreparable harm, that the balance of
 5   hardships tips in Plaintiffs’ favor, or that injunctive relief serves the public interest.
 6   Moreover, even assuming injunctive relief is warranted – which it is not – the
 7   proposed injunctive relief sought in the Motion is so unreasonably broad and
 8   ambiguous that it cannot be awarded.
 9   II.   PLAINTIFFS ARE NOT LIKELY TO SUCCEED ON THE
10         MERITS.
11         “A plaintiff seeking a preliminary injunction must establish that he is likely to
12   succeed on the merits[.]” Winter v. Natl. Res. Def. Council, Inc., 555 U.S. 7, 20
13   (2008). “A preliminary injunction is an extraordinary remedy never awarded as of
14   right.” Id. at 24. Mandatory injunctions, as opposed to prohibitory injunctions, are
15   particularly disfavored, and the Court should deny such relief “unless the facts and
16   law clearly favor the moving party.” Stanley v. Univ. of So. Cal., 13 F.3d 1313,
17   1320 (9th Cir. 1994) (quoting Anderson v. United States, 612 F.2d 1112, 1114 (9th
18   Cir. 1979).
19         Plaintiffs allege that they can successfully hold Defendant “secondarily
20   liable” under the theory of “contributory infringement” or “inducement liability” as
21   described in Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913
22   (2005) and Columbia Pictures Industries, Inc. v. Fung, 710 F.3d 1020 (9th Cir.
23   2013). To establish such liability, Plaintiffs must establish “(1) distribution of a
24   device or product, (2) acts of infringement [by users of Defendant’s product], (3) an
25   object of promoting its use to infringe copyright, and (4) causation.” Fung, 710
26   F.3d at 1032. Plaintiffs have failed to establish any of these four elements.
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 1        A.     Defendant Does Not Provide the Product Which Allegedly
 2               Facilitates Infringement.
 3        Defendant admittedly distributes a “device” – the Box. However, the alleged
 4   infringing activity on which Plaintiffs’ Motion is based is not activity performed by
 5   the Box. Rather, the heart of Plaintiffs’ allegations is that “Themes” – i.e., third-
 6   party modifications of the open-source media player software which the Box utilizes
 7   – can be installed on the Box by users to facilitate their access to online streams,
 8   allegedly including unauthorized streams of Plaintiffs’ copyrighted works.
 9   Plaintiffs repeatedly refer to these third-party “Themes” as if they are the Box, or
10   are otherwise Defendant’s product. See e.g. Plaintiffs’ Motion for Preliminary
11   Injunction (the “Motion”) at 2 (“TickBox TV utilizes illicit software tools that scour
12   the Internet for sources of infringing content and deliver links to those infringing
13   sources to TickBox’s customers in categories like ‘Most Popular,’ ‘in Theaters,’ and
14   ‘New Movies’ . . . .”). The Motion spends a great deal of time describing these
15   third-party “Themes” and how they operate to search for and stream videos. See
16   e.g. Motion at 8-10, 14. But the “Themes” on which Plaintiffs so heavily focus are
17   not the Box, and they have absolutely nothing to do with Defendant. Rather, they
18   are third-party modifications of the open-source media player software which the
19   Box utilizes.
20        Tellingly, the Motion does very little to describe the functionality of
21   Defendant’s product, the Box, and does not identify any objectionable function of
22   the Box absent this third-party software. This is because the Box is simply a small
23   computer which performs common and non-infringing functions of any smartphone,
24   tablet, or desktop computer, and allows its users the ability to download a number of
25   third-party applications that provide users access to authoried streaming content
26   directly from content providers, such as “CBS,” “WatchESPN,” “The Weather
27   Channel,” and “Cartoon Network.” Bruckman Decl. ¶ 15.
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 1         Plaintiffs also allege, without evidence, that Defendant updates these third-
 2   party “Themes” about which Plaintiffs complain and implies that Defendant offers
 3   technical support for the “Themes.” See e.g. Motion at 19, citing Foster Decl. ¶¶
 4   24-30, 36-44. However, these allegations are patently untrue, and are not supported
 5   by any evidence. To the contrary, Defendant has not created or updated any of the
 6   “Themes” about which Plaintiffs complain. See Declaration of Jeffrey Goldstein
 7   (“Goldstein Decl.”), ¶ 14. Plaintiffs’ own expert correctly explained that the media-
 8   player software installed on TickBox devices, Kodi, “is a third-party media player
 9   software . . . [that] supports third-party programs called ‘addons,’” created by third-
10   parties “not affiliated with Kodi itself.” Foster Declaration ¶ 18. Plaintiffs admit
11   that Kodi “is not inherently unlawful.” See Motion at 5. Professor Foster further
12   explained that third-party programmers can create customized versions of the Kodi
13   software with a set of addons, and bundle the addons to create “builds” or
14   “Themes.” Foster Decl. at ¶ 19. Plaintiffs have identified certain of these third-
15   party “builds” or “Themes” which are available on the internet and which can be
16   downloaded by users to view content streamed by third-party websites; however,
17   this same software can be installed on many different types of devices, even one
18   distributed by affiliates of Plaintiff Amazon Content Services, LLC. See Bruckman
19   Decl. ¶¶ 16-18.
20         In Grokster, copyright holders sued two software companies, whose software
21   allowed users to share and download copyrighted works through peer-to-peer
22   networks. Grokster, 545 U.S. at 919. The Supreme Court held that the respondents
23   could be liable for distributing a “device” – the respondents’ software – “with the
24   object of promoting its use to infringe copyright.” Id. at 936. Similarly, in Fung,
25   copyright holders sued the operator of websites which hosted “torrent” files – files
26   necessary for operation of the “BitTorrent protocol” version of peer-to-peer file
27   sharing. Fung, 710 F.3d at 1025-29. The 9th Circuit held that Fung’s provision of
28   torrent files similarly satisfied the first element of inducement liability. Id. at 1033.
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 1         In contrast, Defendant’s product – the Box – is not software through which
 2   users can access unauthorized content, as in Grokster, or even a necessary
 3   component of accessing unauthorized content, as in Fung. Defendant offers a
 4   computer, onto which users can voluntarily install legitimate or illegitimate
 5   software. The product about which Plaintiffs complain is third-party software
 6   which can be downloaded onto a myriad of devices, and which Defendant neither
 7   created nor supplies.
 8        B.     Plaintiffs Have Not Demonstrated Copyright Infringement by
 9               Users of Defendant’s Product.
10        “To prove copyright infringement on an inducement theory, [Plaintiffs must]
11   adduce evidence of actual infringement by users of [Defendant’s] services.” Fung,
12   710 F.3d at 1034. With the exception of Plaintiffs’ own employees and expert,
13   Plaintiffs have not pointed to any evidence that purchasers of the Box have actually
14   accessed Plaintiffs’ copyrighted material. See, Perfect 10, Inc. v. Amazon.com, Inc.,
15   508 F.3d 1146, 1169 (9th Cir. 2007) (finding there was “no evidence in the record
16   directly establishing that [Defendant’s] users [committed infringement], and the
17   district court did not err in declining to infer the existence of such evidence”).
18        More importantly, even if Plaintiffs had shown actual access to infringing
19   material by Defendant’s users, they have not shown that such access would
20   constitute actual infringement. Plaintiffs allege that they have the exclusive right
21   “to perform” certain copyrighted works “publicly,” that “transmission” of such
22   public works violates such exclusive right, and Internet streams constitute such
23   transmission in violation of Plaintiffs’ exclusive right to public performance. See
24   Motion, at § III.2. Plaintiffs have not alleged that Defendant, its product, or users of
25   Defendant’s product have “transmitted” any of Plaintiffs’ copyrighted works;
26   instead, Plaintiffs allege that users of Defendant’s product have the ability to view
27   performances which violate Plaintiffs’ exclusive right to perform its copyrighted
28   works. However, Plaintiffs have not cited any authority by which viewers of public
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  1   performances can be held liable for violation of a copyright holder’s rights “to
  2   perform the copyrighted works publicly.” See Fung, 710 F.3d at 1034 (“uploading
  3   and downloading copyrighted material” violate the right to distribution under §
  4   106(1) and to reproduction under § 106(3), respectively); American Broadcasting
  5   Cos., Inc. v. Aereo, Inc., 134 S.Ct. 2498, 2509 (2014) (finding service which
  6   transmitted Internet streams liable under § 106(4)); WPIX, Inc. v. ivi, Inc., 691 F.3d
  7   275, 278 (2d Cir. 2012) (in which the defendant “captured and retransmitted
  8   plaintiffs’ copyrighted television programming”); Warner Bros. Entm’t Inc. v. WTV
  9   Sys., Inc., 824 F.Supp. 2d 1003, 1006-07 (C.D. Cal. 2011) (in which defendants
 10   “transmit the performance via the internet to the customer”); Fox Television
 11   Stations, Inc. v. FilmOn X LLC, 966 F.Supp. 2d 30, 46-47 (D.D.C. 2013) (in which
 12   defendant captured television signals and broadcasted them over the Internet to
 13   defendant’s users); Video Pipeline, Inc. v. Buena Vista Home Entm’t, Inc., 192
 14   F.Supp. 2d 321, 322 (D.N.J. 2002) (Video Pipeline violated exclusive right to public
 15   performance by transmitting portions of copyrighted works from Video Pipeline’s
 16   website to users); Twentieth Century Fox Film Corp. v. iCraveTV, No. Civ.A. 00-
 17   120, 2000 WL 255989, at *7 (W.D. Pa. Feb. 8, 2000) (defendant captured television
 18   programming, converted such television signals into computerized data, and
 19   streamed them over the Internet).
 20        The text of the statute itself does not impose liability for viewing streaming
 21   content. Under the statute, an “infringer” is one who violates any of the exclusive
 22   rights of the copyright owner. 17 U.S.C. § 501(a). Plaintiffs complain that their
 23   exclusive right under 17 U.S.C. § 106(4) is at issue here: “in the case of literary,
 24   musical, dramatic, and choreographic works, pantomimes, and motion pictures and
 25   other audiovisual works, to perform the copyrighted work publicly.” “To ‘perform’
 26   a work means to recite, render, play, dance, or act it, either directly or by means of
 27   any device or process or . . . to show its images in any sequence or to make the
 28   sounds accompanying it audible.” To perform “publicly” means “(1) to perform or
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  1   display it at a place open to the public or at any place where a substantial number of
  2   persons outside of a normal circle of a family and its social acquaintances is
  3   gathered; or (2) to transmit or otherwise communicate a performance to a place
  4   specified by clause (1) or the public[.]” 17 U.S.C. § 101 (emphasis added); see, also
  5   1976 U.S.C.C.A.N. at 5676-77 (“Although any act by which the initial performance
  6   or display is transmitted, repeated, or made to recur would itself be a “performance”
  7   or “display” under the bill, it would not be actionable as an infringement unless it
  8   were done “publicly” as defined in section 101.”) Plaintiffs do not allege that
  9   Defendant, Defendant’s product, or the users of Defendant’s product “transmit or
 10   otherwise communicate a performance” to the public; instead, Plaintiffs allege that
 11   users view streaming material on the Box. It is clear precedent in this Circuit that
 12   merely viewing copyrighted material online, without downloading, copying, or
 13   retransmitting such material, is not actionable. Perfect 10, 508 F.3d at 1169
 14   (Plaintiff failed to show direct infringement by users of Google’s search engine who
 15   viewed unauthorized, copyrighted works, where plaintiff presented no evidence that
 16   users saved copyrighted images to their computers and, to the extent temporary
 17   “cache” copies of images were downloaded, the same would constitute fair use.)
 18         Plaintiffs inappropriately seek judicial legislation by attempting to hold
 19   Defendant liable for copyright infringement based upon acts which are not
 20   infringing under the plain language of the statute. Because viewing copyrighted
 21   material is not a public performance of such copyrighted material, Plaintiffs have
 22   not pointed to actual acts of infringement by users of Defendant’s product.
 23        C.     Plaintiffs Cannot Show that Defendants Intend to Induce
 24               Copyright Infringement.
 25        As set forth above, the activities of Defendant’s users about which Plaintiffs
 26   complain do not violate applicable copyright law. See II.B, supra. If Defendant’s
 27   users are not infringing upon Plaintiffs’ rights, the Court cannot infer that Defendant
 28   intended to induce its users to violate Plaintiffs’ rights.
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  1         Moreover, this case is factually distinguishable from other cases in which
  2   defendants were found to induce users to commit copyright infringement. For
  3   example, in Grokster, the respondents expressly stated their intent to replace
  4   Napster, a known source of copyright infringement in the marketplace. Grokster,
  5   545 U.S. at 939. The respondents “respond[ed] affirmatively to requests for help in
  6   locating and playing copyrighted materials.” Id. at 938. The respondents directly
  7   advertised the ability to access specific, copyrighted works, and made their software
  8   searchable for “Top 40” songs which “were inevitably copyrighted.” Id. at 926.
  9   The respondents directly benefitted from users’ copyright infringement by selling
 10   advertisements, which generated more revenue as illegal use increased. Id. at 939.
 11         By contrast, Defendant does not profit if users access unauthorized content.
 12   See Goldstein Decl. ¶¶ 14, 17. Defendant does not sell or otherwise provide
 13   unauthorized content or software to access unauthorized content, and does not sell
 14   advertising space as did the Grokster respondents. Id. ¶¶ 10, 14, 16. Defendant’s
 15   place in the market does not replace or compete with some known copyright
 16   infringement1; it competes with other streaming hardware devices, including the
 17   “Firestick” sold by affiliates of Plaintiff Amazon Content Services, LLC. Id. ¶ 9.
 18         Plaintiffs assert that Defendant has not taken steps “to develop filtering tools
 19   or other mechanisms to diminish the infringing activity by its customers.” This
 20   assumes that Defendant’s customers were committing some infringement, but they
 21   were not. See Section II.B., supra. It further assumes that Defendant was aware of
 22   users’ infringement and had a duty and ability to filter users’ activities, which it
 23   does not. See Grokster, 545 U.S. at 939, n 12 (“Of course, in the absence of other
 24   evidence of intent, a court would be unable to find contributory infringement
 25

 26   1
       Plaintiffs assert that Defendant is “aiming to satisfy a known source of demand for
 27   copyright infringement” by competing with Netflix, Hulu, and Amazon Prime.
 28
      Serving as an alternative to well-known streaming services is in no way analogous
      to Grokster, in which the defendants aimed to replace Napster, a known infringer.
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  1   liability merely based on a failure to take affirmative steps to prevent infringement,
  2   if the device was otherwise capable of substantial noninfringing uses.”)
  3         Finally, no current advertisement or instruction from Defendant encourages or
  4   instructs users to access unauthorized streams. See Goldstein Decl. ¶ 25. To the
  5   contrary, Defendant requires users to agree not to use the Box for illegal purposes.
  6   Id. ¶¶ 7-8. In short, Defendant does not induce its customers to violate Plaintiffs’
  7   copyrights.
  8        D.       Defendant Does Not Have the Requisite Connections to Third-
  9                 Party Streaming Websites to be Held Liable for Their Actions.
 10         Undoubtedly, there are third-party sources which “transmit” copyrighted
 11   works in violation of the copyright holders’ exclusive rights to perform such works.
 12   However, when Plaintiffs’ theory of contributory liability flows from the
 13   infringement of unknown third parties, with whom Defendant has no contact, much
 14   less control, the Motion entirely breaks down. Plaintiff has not alleged any element
 15   of contributory infringement vis-à-vis these unknown third-parties. Plaintiff has not
 16   alleged that Defendant has distributed any product to those third parties, that
 17   Defendant has committed any act which encourages those third parties’
 18   infringement, or that any act of Defendant has, in fact, caused those third parties to
 19   infringe. See Fung, 710 F.3d at 1032. Plaintiffs have not shown how Defendant’s
 20   advertisements to its potential users or technical support for its users in any way
 21   incentivizes or encourages third parties to transmit copyrighted works.
 22         To the extent Plaintiffs seek to argue that Defendant should or could take
 23   affirmative steps to halt such third-party infringement, such argument is not
 24   supported by precedent in this Circuit. In Perfect 10, the copyright holder
 25   complained that Google’s search engine facilitated copyright infringement by
 26   linking users to websites, from which they could view or download copyrighted
 27   images. Perfect 10, Inc., 508 F.3d at 1157. Because Google’s customers were not
 28   directly infringing, the copyright holder sought to hold Google vicariously liable for
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  1   the acts of the third-party website operators. Id. at 1169, 1172-74. The Ninth Circuit
  2   affirmed the trial court’s conclusion that Perfect 10 did not establish a likelihood of
  3   success on the merits, noting that it had not established any contractual or legal right
  4   of Google to stop or limit the infringement of third-party websites. Id. at 1174.
  5   “Google cannot stop any of the third-party websites from reproducing, displaying,
  6   and distributing unauthorized copies of Perfect 10’s images because that infringing
  7   conduct takes place on the third-party websites.” Id. Similarly, Defendant has no
  8   contracts with third-party infringers to provide unauthorized streams, is not aware of
  9   what individuals or entities provide such streams, and has no ability to prevent third-
 10   party infringers from infringing on Plaintiffs’ rights. See Goldstein Decl. ¶¶ 17-19.
 11   III. DEFENDANT’S VOLUNTARY ACTS OBVIATE THE NEED FOR
 12        INJUNCTIVE RELIEF.
 13         The purpose of an injunction is to restrain conduct and preserve the status
 14   quo. If the conduct about which Plaintiffs complain is not continuing and Plaintiffs
 15   are not being harmed, then there is no need for an injunction because there is
 16   nothing to restrain. The core of Plaintiffs’ complaint is that certain Themes of the
 17   Kodi media player software enable users to search for and access Plaintiffs’
 18   copyrighted works. Although Defendant does not agree that the access Plaintiff has
 19   identified constitutes copyright infringement, after receiving Plaintiffs’ Complaint,
 20   Defendant voluntarily took steps to remove links to download those Themes on the
 21   Box, intending to remove all such links. See Goldstein Decl. ¶¶ 21-23.
 22   Inadvertently, some links remained at the time Plaintiffs filed the Motion; however,
 23   any remaining links to such Themes have now been removed from the Box
 24   interface. Id. ¶¶ 23-25. Defendant does not provide instructions on how to use the
 25   Box to access unauthorized content. Id. ¶ 28. Nor is such access easy or obvious to
 26   users of the Box. Bruckman Decl. ¶ 16. Although access to unauthorized streams is
 27   possible, it is no easier or different on the Box than it would be on a computer or
 28   mobile phone. Id. ¶¶ 16-18.
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  1         Likewise, with no admission that its prior advertisements encouraged
  2   infringement, Defendant has voluntarily modified its advertising and webpage to
  3   attempt to appease Plaintiffs and resolve their complaint amicably. See Goldstein
  4   Decl. ¶ 26-28. The current advertisements are substantially similar to that of other
  5   streaming devices, such as Amazon Firestick and Roku, which encourage users to
  6   stream television programs and movies. Id. Plaintiffs allege that Defendant
  7   somehow continues to encourage infringement with phrases like, “[T]urn your TV
  8   into a content filled home theatre system enjoying thousands of movies, TV shows
  9   and apps like Youtube, HBO Now and many many more . . .” and “You Need to
 10   Hurry” because “the popularity of TickBox TV™ is growing by leaps and bounds
 11   every day.” See Motion at 13-14. Such language is consistent with advertisements
 12   for other similar devices, including Amazon’s Firestick. See Goldstein Decl. ¶ 27.
 13   Moreover, Plaintiffs’ quarrel with the specific language of Defendant’s advertising
 14   highlights that this matter should not be resolved with a broad and ambiguous
 15   injunction.
 16   IV. EVEN IF INJUNCTIVE RELIEF WERE APPROPRIATE,
 17        PLAINTIFF’S PROPOSED RELIEF IS NOT TAILORED TO
 18        PREVENT THEIR ALLEGED HARM.
 19         It is well established that “relief must be tailored to remedy the specific harm
 20   alleged, and an overbroad preliminary injunction is an abuse of discretion.” See
 21   Winter, 508 F.3d at 886; F.T.C. v. John Beck Amazing Profits, LLC, No. 2:09-cv-
 22   4719-FMC (FFM), 2009 WL 7844076, AT *4 (C.D.Cal. Nov. 17, 2009) (citing
 23   Price v. City of Stockton, 390 F.3d 1104, 1117 (9th Cir. 2004)) (“an injunction must
 24   be narrowly tailored ... to remedy only the specific harms shown by the plaintiffs,
 25   rather than ‘to enjoin all possible breaches of the law’”). Here, the proposed
 26   injunction facially oversteps these bounds by enjoining all persons in any way
 27   associated with Defendant from “infringing in any manner.” See [Proposed] Order
 28   Granting Plaintiffs’ Motion for Preliminary Injunction at 2. Moreover, the proposed
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  1   injunction is so ambiguous that almost any act could be construed to violate it. For
  2   example and without limitation, the proposed injunction would enjoin “all of
  3   [Defendants’] officers, directors, agents, servants . . . employees . . . persons in
  4   active concert or participation or in privity with any of them . . . from . . .
  5   performing any service that induces or facilitates” public performance of Plaintiffs’
  6   copyrighted works. Id. Read literally, the injunction would seem to prevent anyone
  7   affected thereby from doing anything which “facilitates” even legitimate, authorized
  8   public performances. Without any definition or limitation, no one “in privity” with
  9   Defendant or its employees and officers can, for example, provide any computer
 10   services, for fear that the computer might one day be used to watch a movie. More
 11   specifically and significantly, the injunction would prevent officers and employees
 12   of Defendant from interacting with SideTick, LLC, a related entity which does hold
 13   legitimate, contractual rights to display certain copyrighted works. See Goldstein
 14   Decl. ¶¶ 29-32.
 15         Further, in order to be entitled to a preliminary injunction, Plaintiffs must
 16   demonstrate that the balance of hardships tips in their favor. Winter, 555 U.S. at 20.
 17   “In each case, courts must balance the competing claims of injury and must consider
 18   the effect on each party of the granting or withholding of the requested relief.” Id.
 19   (internal citations and quotation marks omitted). Mandatory injunctions, as opposed
 20   to prohibitory injunctions, are disfavored, and the Court should deny such relief
 21   “unless the facts and law clearly favor the moving party.” Stanley v. Univ. of So.
 22   Cal., 13 F.3d 1313, 1320 (9th Cir. 1994) (quoting Anderson v. United States, 612
 23   F.2d 1112, 1114 (9th Cir. 1979).
 24         Not only do Plaintiffs seek a vague and overly broad injunction, but the
 25   request – which includes disfavored mandatory relief – would impose an
 26   impermissible hardship on Defendant. Namely, the injunctive relief sought would
 27   shut down Defendant’s business, impound all of Defendant’s inventory, and require
 28   Defendant to hack into and delete content which its customers have downloaded to
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  1   the Box – an act which Defendant has no right to perform, and which could expose
  2   Defendant to thousands of potential claims. See [Proposed] Order Granting
  3   Plaintiffs’ Motion for Preliminary Injunction.
  4         Plaintiffs, meanwhile, have failed to identify any hardship whatsoever.
  5   Plaintiffs have stated only hypothetically that users of the Box could be accessing
  6   copyrighted works by downloading certain software, but have failed to show that
  7   users have actually downloaded such software or accessed Plaintiffs’ copyrighted
  8   works, or that such access would infringe Plaintiffs’ rights. They have not
  9   attempted to quantify the extent of such access, much less identify alleged damages
 10   from such access. Nor have they articulated how the injunction they seek would
 11   lessen their hardship, where the “Themes” about which they complain are not
 12   created or distributed by Defendant, are readily available from third parties on the
 13   internet, and can be installed on many types of devices. Notably, while vaguely
 14   alleging that they are being “irreparably” harmed, Plaintiffs waited nearly two
 15   months after filing the Complaint to seek a preliminary injunction in this case.
 16         Rather than meet their burden of showing some irreparable harm tips the
 17   balance of hardships in their favor, Plaintiffs rely only on the unsupported
 18   assumption that Defendant has no cognizable interest in operating its business and
 19   selling the Box – which does not currently provide any links to the software about
 20   which Plaintiffs complain. The proposed injunction would entirely destroy
 21   Defendant as an enterprise – tantamount to granting Plaintiffs the full relief they
 22   seek without a trial on the merits – without curing any alleged “hardship” on
 23   Plaintiffs. Plaintiffs have not demonstrated that the balance of hardships weigh in
 24   their favor, and therefore are not entitled to the “extraordinary” remedy they seek.
 25   See Winter, 555 U.S. at 24.
 26   V.   CONCLUSION.
 27         For the foregoing reasons, Plaintiffs are not entitled to the preliminary
 28   injunction they seek, because Plaintiffs have not demonstrated that they are likely to
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  1   succeed on the merits of their claims, Plaintiffs cannot identify any continuing harm
  2   in the absence of a preliminary injunction, and the balance of hardships weighs
  3   decidedly in Defendant’s favor. Accordingly, the Motion must be denied.
  4
      Dated: December 28, 2017          witkow | baskin
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                                        Schreeder, Wheeler & Flint, LLP
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                                        By: /s/ Brandon J. Witkow
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                                             Brandon J. Witkow
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                                             Attorneys for Defendant Tickbox TV, LLC

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